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                     IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                                AT NASHVILLE


  UNITED STATES OF AMERICA


  Vs.                                       CASE NO. 3:11-cr-00012(7)
                                            JUDGE: SHARP
   TRAVIS HODGES/

                       AGREED UPON MOTION TO EXTEND
                       DEFENDANT’S DATE OF SURRENDER

          Comes Now the defendant Travis Hodges by and through his undersigned

  counsel and respectfully requests this Honorable Court to extend Mr. Hodges’

  current surrender date of October 28, 2013. In support the undersigned would

  show as follows:

          1. Mr. Hodges appeared for sentencing before this Court on October 4,

  2013. As part of his sentence the Court ordered Mr. Hodges to surrender October

  28, 2013 at the institution designated by the Bureau of Prisons. Pursuant to the

  order Mr. Hodges has been making preparations and awaiting his notice from the

  FBOP.

          2. The undersigned was advised this morning by the U.S. Marshal Service

  that Mr. Hodges has not been designated yet because the Court has not signed a

  Judgment and Commitment Order. The undersigned spoke to the Court’s Deputy

  Clerk who advised the undersigned that she was hopeful but not certain that an

  order would be prepared in the next few weeks.




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